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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

 UNITED STATES OF AMERICA                  §
                                           §           Criminal No. 24-CR-00298
 V.                                        §
                                           §
 EITHAN HAIM                               §

               NOT THE BEE, LLC’S MOTION TO INTERVENE
                       AND MOTION TO UNSEAL

        Not the Bee, LLC (“Not the Bee”) moves to intervene in this action for the

limited purpose of moving to unseal the following docket entries on the ground that

they have been sealed without sufficient justification: Dkt. Nos. 101, 104, 107, and

108 (the “Sealed Filings”).

I.      Introduction

        This case warrants maximum transparency. The unprecedented investigation

and prosecution of Dr. Eithan Haim has been covered by many media outlets and

news websites, including Not the Bee, and is a topic of conversation among

prominent politicians, intellectuals, and legal commentators, as well as the public at

large. The press and public have demonstrated substantial interest in Dr. Haim’s

whistleblowing, the medical procedures on minors that are the subject of his

revelations, the misconduct by the government in pursuing this prosecution, and the

various setbacks that the government has faced in attempting to criminalize Dr.

Haim’s efforts to bring to light the illegal conduct of Texas Children’s Hospital.

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      Not the Bee operates a news, opinion, and entertainment website and is

interested in publishing news coverage of Dr. Haim’s case to draw attention to the

absurd fact that when a doctor exposed highly unethical medical practices, it was the

doctor who faced criminal prosecution, despite his whistleblower status. As a

member of the press and public, Not the Bee has standing to challenge the sealing

of documents so that it may obtain access to information concerning judicial

proceedings. The government has not demonstrated any legitimate grounds to seal

the documents, let alone the heightened grounds necessary to suppress the public’s

First Amendment right of access to criminal proceedings and the press’s right to

gather the news. For these reasons, Not the Bee respectfully asks the Court to grant

its motion to intervene for the limited purpose of moving to unseal, grant its motion

to unseal, and order that docket entry numbers 101, 104, 107, and 108 be unsealed.

II.   Background

         a. Proposed Intervenor

      Not the Bee operates the website notthebee.com, which is a humor-based

news, opinion, and entertainment site from the creators of The Babylon Bee and

Disrn. The Babylon Bee, Not the Bee’s sister website, uses satire and humor as a

means of commenting on culture, politics, and current events. In a related vein, Not

the Bee publishes news headlines involving events that are so outrageous that they

sound like satire, even though they involve real-world occurrences. By publishing



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news articles on its site, Not the Bee engages in commentary about the events in

question and draws attention to the ridiculousness or absurdity of such events.

          b. Relevant Case Background

      Following a hearing at which the Court entertained the defense’s motion to

dismiss the superseding indictment on multiple grounds (some of which the

government did not contest) – and despite the government’s representation at this

hearing that it would not supersede again – the government filed a second

superseding indictment. ECF 100, 110. Around this time, the government, without

any apparent justification, made three sets of filings under seal.

      First, immediately after the hearing and before the second superseding

indictment was filed, a filing was made under seal, with no description. ECF 101.

      Second, a government attorney filed a motion to withdraw as counsel of

record for the United States. Though the filing was entirely under seal (ECF 104),

the court then granted the motion and provided the title of the motion. ECF 114.

      Third, on November 20, 2024, the government moved for a gag order to

prevent Dr. Haim and his counsel from making public statements or talking to the

press, except for statements that merely recite, without any characterization, matters

of public record. ECF 105. For this motion, the government filed two exhibits under

seal (ECF 107 and 108) and described them as tweets from Dr. Haim and his counsel.

See ECF 105 at 5-6. The government characterized the tweets as demonstrating that



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the “defendant and his counsel have now crossed a line, bombarding social media

with inaccurate and inflammatory descriptions of pretrial proceedings that would

never be admissible before a jury.” Id. at 5.

       None of these filings at ECF 101, 104, 107 or 108 (collectively, the “Sealed

Filings”) were submitted in connection with a motion to seal, and none provide a

public explanation of why there is good cause to seal the document.

       The Sealed Filings inhibit the public and press’s ability to access judicial

records, in violation of their constitutional rights. The government fails to establish

that there is a compelling government interest in secrecy, or that the proposed

protective order is narrowly tailored to protect that interest – indeed, the government

makes no sealing argument at all.

       Accordingly, Not the Bee hereby (1) moves to intervene in this action for the

limited purpose of moving to unseal the Sealed Filings and (2) moves to unseal the

Sealed Filings.

III.   Argument

       A.    Not the Bee has standing to intervene to challenge the sealing of
             documents that should be public.

       The Fifth Circuit recognizes that the press has standing to challenge the

sealing of documents so that it may obtain access to information concerning judicial

proceedings, even if the press is not a party to the litigation and not restrained by

any order. Davis v. East Baton Rouge Parish Sch. Bd., 78 F.3d 920, 926 (5th Cir.

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1996); see also Ford v. City of Huntsville, 242 F.3d 235, 240 (5th Cir. 2001); United

States v. Brown, 218 F.3d 415, 422 (5th Cir. 2000). Indeed, the general public has

standing to assert a right of access to judicial records. United States v. Holy Land

Found. for Relief & Dev., 624 F.3d 685, 690 (5th Cir. 2010). Accordingly, Not the

Bee has proper standing to move to unseal the documents.

      B.     Not the Bee has a right under the First Amendment and common
             law to access the Sealed Filings.

      “The public’s right of access to judicial records is a fundamental element of

the rule of law.” Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 417 (5th Cir. 2021)

(quoting In re Leopold to Unseal Certain Elec. Surveillance Application & Orders,

964 F.3d 1121, 1123 (D.C. Cir. 2020)). The “right of access to criminal proceedings”

is “secured by the First Amendment.” Tennessee v. Lane, 541 U.S. 509, 523 (2004).

Sealing a document constitutes a prior restraint, and it is “constitutional only if the

government demonstrates that the protected speech restrained poses a ‘clear and

present danger, or a serious or imminent threat to a protected competing interest.’”

Davis, 78 F.3d at 928 (quoting CBS Inc. v. Young, 522 F.2d 234, 238 (6th Cir. 1975)).

Furthermore, “[t]he restraint must be narrowly drawn and cannot be upheld if

reasonable alternatives are available having a lesser impact on First Amendment

freedoms.” Davis, 78 F.3d at 928 (quoting CBS, 522 F.2d at 238).

      The public also “has a common law right to inspect and copy judicial records.”

Bradley on behalf of AJW v. Ackal, 954 F.3d 216, 224 (5th Cir. 2020) (quoting SEC

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v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993)). “It is clear that the courts

of this country recognize a general right to inspect and copy public records and

documents, including judicial records and documents.” Nixon v. Warner Commc’ns,

Inc., 435 U.S. 589, 597 (1978). This right “promotes the trustworthiness of the

judicial process, curbs judicial abuses, and provides the public with a better

understanding of the judicial process, including its fairness[, and] serves as a check

on the integrity of the system.” United States v. Sealed Search Warrants, 868 F.3d

385, 395 (5th Cir. 2017) (quoting SEC v. Van Waeyenberghe, 990 F.2d at 849–50).

       While a district court retains discretion to seal judicial records, the “court must

use caution in exercising its discretion to place records under seal.” Holy Land, 624

F.3d at 689; see also Binh Hoa Le, 990 F.3d at 418–19 (“[C]ourts should be

ungenerous with their discretion to seal judicial records” in light of the “presumption

in favor of the public’s access to judicial records[.]”) (internal quotation marks and

citation omitted); Fed. Sav. & Loan Ins. Corp. v. Blain, 808 F.2d 395, 399 (5th Cir.

1987) (“The district court’s discretion to seal the record of judicial proceedings is to

be exercised charily . . . .”).

       The press has additional protection from the First Amendment, which protects

the press’s efforts to gather the news. Davis, 78 F.3d at 926; In re Express-News

Corp., 695 F. 2d 807, 810 (5th Cir. 1982) (The [F]irst [A]mendment right to gather

news is a “good cause,” and “[i]f that right is to be restricted, the government must



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carry the burden of demonstrating the need for curtailment”). Without these

protections, the “freedom of the press could be eviscerated.” In re Express-News

Corp, 695 F.2d at 808 (quoting Branzburg v. Hayes, 408 U.S. 665, 681 (1972)).

      C.       The Court should unseal the Sealed Filings because the government
               has failed to justify their sealing.

      The Court should unseal the Sealed Filings because there is no constitutional

reason to maintain their sealing. Neither the government nor any party has

demonstrated that a curtailment of First Amendment rights is justified by a “clear

and present danger, or a serious or imminent threat to a protected competing

interest,” Davis, 78 F.3d at 928 (quoting CBS, 522 F.2d at 238), nor has the

government even shown good cause to seal the Sealed Filings, see Fed. R. Crim.

Proc. 49.1(e). To address the Sealed Filings in turn:

      ECF 101: This document has no description or party associated with it on the

docket. It was filed the Monday after the Friday hearing at which the government

agreed that its superseding indictment had errors that must be corrected for the case

to proceed, and only a few days before the government filed its second superseding

indictment. There is no justification for this document to be sealed. Indeed, if this

document is related in any way to either the hearing or the second superseding

indictment – which are newsworthy and have generated public interest – its

unsealing is particularly important and necessary to hold the government

accountable.

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      ECF 104: The Court has already provided the title of this filing as

“Government’s Motion to Withdraw as Counsel of Record for the United States.”

ECF 114. There is no reason such a motion should be under seal. The docket already

reflects that Assistant U.S. Attorney Tina Ansari was terminated as counsel for the

government the same day that the Court granted this motion to withdraw, so as a

practical matter, the sealing is not protecting the identity of the withdrawing attorney

– nor is the withdrawal of lead counsel on a criminal case something that warrants

protection from public scrutiny, in any case. The public has a right to know why

Mrs. Ansari withdrew from this case. If the motion contains no further information,

there is no basis at all to seal it, and it should be publicly known that the government

provided none. If the document contains additional details about the reasons for the

withdrawing government attorney, those should be in the public record. Either way,

the sealing was nigh frivolous and frustrates the integrity of the judicial process.

      ECF 107 and 108: The government appended these two documents as

exhibits to a publicly filed motion for a gag order and provided no justification at all

for sealing them. As the motion for the gag order states, the documents simply

contain “public postings” to social media. ECF 105 at 5-6. Indeed, the government’s

argument is that those posts are so public that they risk “tainting the jury pool.” Id.

at 6. Because these documents are already freely accessible by the public, there is

nothing gained by, nor warranting, sealing them.



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      The government also argues that the “inflammatory posts encourage the

online bullying of prosecutors and create heightened safety risks, serving as

invitations to members of the media and the public to harass prosecutors.” Id. In

other words, the government admits that it intends to impede the newsgathering

function of the press by withholding the specific posts from public view. Moreover,

the government characterizes the posts as “inflammatory” and containing

“inaccurate and inflammatory descriptions of pretrial proceedings” without

providing any details that would enable the public to determine whether the

government is itself being accurate. This lack of accountability erodes confidence in

the judicial process.

      In the context of gag orders that protect victims, the Supreme Court has held

that “once the truthful information was ‘publicly revealed’ or ‘in the public domain,’

the court could not constitutionally restrain its dissemination.” Smith v. Daily Mail

Pub. Co., 443 U.S. 97, 103 (1979) (first quoting Cox Broadcasting Corp. v. Cohn,

420 U.S. 469, 495 (1975), then citing Okla. Publ’g. Co. v. Dist. Ct., 430 U.S. 308

(1977)). As these documents contain “public postings,” the Court would be

overstepping constitutional boundaries if it allows the government to prevent parties

from accessing on the docket what is freely available on social media sites.

      Additionally, the government’s sealing of these documents is a prior restraint

that frustrates the newsgathering function and causes irreparable injuries to First



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Amendment rights because it prevents the press and public from knowing what is

occurring in this fast-moving case until the issues may be moot. Indeed, these filings

all occurred in less than a week’s time, sandwiched between when the Court

conducted a significant hearing and when the government obtained a superseding

indictment. Another hearing on some of these issues will be held in another week.

The Court should unseal these documents speedily to ensure that the government

does not accomplish by delay what it cannot by right.

IV.   Conclusion

      For the foregoing reasons, Not the Bee, LLC respectfully requests that the

Court allow it to intervene in this case for the limited purpose of moving to unseal

the Sealed Filings, grant its motion to unseal, and order that docket entries 101, 104,

107, and 108 be unsealed immediately.

      Date: November 25, 2024           Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that a true and correct copy of the

above and foregoing document has been filed and served on November 25, 2024

using the CM/ECF system, which will send notification of such filing to all counsel

of record.


                                      /s/John-Paul S. Deol
                                      John-Paul S. Deol




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